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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

WILLIAM I. KOCH, et al.,            )
                                    )
      Plaintiffs,                   )
                                    )
vs.                                 ) Case No. 85-1636-SAC
                                    )
KOCH INDUSTRIES, INC., et al.,      )
                                    )
      Defendants.                   )
____________________________________)

                             UNOPPOSED JOINT MOTION
                           TO INSPECT SEALED DOCUMENTS

       COME NOW plaintiffs, by and through their attorney, Harry L. Najim of Najim Law

Office, P.A., and defendants, by and through their attorney, James M. Armstrong of Foulston

Siefkin LLP, and jointly move the Court for an Order allowing them or their representatives to

inspect the documents filed under seal in the above-captioned matter which are the subject of the

Minute Order filed herein on August 15, 2008, so a determination may be made as to their

disposition.

       WHEREFORE, the parties pray that the Court enter an Order granting the relief

requested herein.

                                     Respectfully submitted,



                                     s/Harry L. Najim___________________________
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                                        s/James M. Armstrong_________________________
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                                     CERTIFICATE OF SERVICE

        I hereby certify that on the 27th day of August, 2008, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send of notice of electronic

filing to all attorneys of record.



                                        s/James M. Armstrong________________________
                                        James M. Armstrong, #09271




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